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Filing # 72387064 E-Filed 05/18/20| 8 04:46:35 PM

lN 'l`l~ll'l NIN'I`H JUDlC.lAI. ClRCUl'l` COURT
lN AN]) f~`OR ()S(Il"`.()l ./\ COUN'I`Y. l"l.ORlD/\

SOUTl'IST/\R CAPI'l`AI. GR()UP, l, l,.l.C,
COT'I`ING'I`ON ROAD 'I`lC. I_.l.,C, and
DURBAN ROAD TIC, l,l..(f,

l’|aintil"f`_<s,

vs. CAS|.'I NO. 2018-CA-000415-OC

1662 MUI..'l`IFAMILY I.,l.,C, l~lINES 1662
MlJL'lTlF/\MII..Y, Ll..C, !'IINES
INVESTMEN'|` MANAGEMEN'[`
HOLDINGS I,IMITED PAR'I`N BRSHIP,
HIMH Gl’, I_.LC, HINES lN'I`l?.RF,STS
LIMI'|`EI) PARTNERS|~HP, JCH
lNVES'I`MENTS, lNC, and URBAN
OAKS BUILDERS LLC

Del`cndants.
/

VERIFIED MO'|`ION FOR ADMISSION 'l`O APPEAR l’RO HAC VICE
I’URSUAN'|` 'l`O FL()RIDA RULE ()F JUD'£CIAL Al)MINlSTRA'l`ION 2.510

Comes now Katherine A. Brookcr, i\/lovant herein, and respectfully represents the following:

l. Movant resides in I~louston. 'l`cxas. Movant is not a resident ol` the Statc ol`
I~`lorida.

2. Movant is an attorney and a member ol` the law linn 01` Bal<er Botts, l.l..l’, with
offices at One Shell I’la?a, 9|0 Louisiana, l~louston, I~Iarris County, 'l`cxas, 77002, 713.229.1234.

3. Movant has been retained personally or as a member oi` the above-named law firm
on_Marcb 30, 2017 by Urban Oaks Buildcrs LLC to provide legal representation in connection with
the above~styled matter now pending before the above-named court ol` the Statc of Florida.

4. Movant is an active member in good standing and currently eligible to practice law
in the followingjurisdiction(s): lnclndc attorney or bar ntlmber(s). (Attael) an additional sheet i[`
nccessary.)
JURlSl)IC'I`I()N A'l"l`ORNEY/BAR NUMB|'€R

'l`exas 24()75772

 

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5. There have been no disciplinary, suspension, disbarment, or contempt proceedings
initiated against Movant in the preceding 5 ycars, except as provided below (give jurisdiction ol
proceeding, date upon which proceeding was initiated. nature ol` alleged violation, statement of
whether thc proceeding has concluded or is still pending, and sanction, il`any, imposcd): (_Attach an
additional sheet il`neecssary.)

 

 

 

 

6. Movant, either by resignation, withdrawal, or otherwise, never has terminated or
attempted to terminate Movant’s oliiee us an attorney in order to avoid administrative, disciplinary,
disbarment. or suspension proceedings

7. Movant is not an inactive member of 'I`he l-`lorida Har.
8. Movant is not now a member ol"l'he lilorida Bar.
9. Movant is not a suspended member ot` The lilorida l3ar.

l(l. Movant is not a disbarred member of 'I`hc l"`iorida Bar nor has Movant received a
disciplinary resignation or disciplinary revocation from Thc I"lorida liar.

ll. Movant has not previously been disciplined or held in contempt by reason of
misconduct committed while engaged in representation pursuant to Florida Ru|e ol` Judicial
Administration 2.510, except as provided below (givc date of disciplinary action or contempt,.
reasons therel`or, and court imposing contempt): (Attach an additional sheet il`neecssury.)

 

 

12. Movant has lilcd motion(si to appear as counsel in l lorida state cotnts during the
past live (5) years in thc following matters: (/-\ttaeh an additional sheet il neccssaiy.)

l)ateo|`h/iotion (.`ase Name (7:1seNumber (,`1)urt l)atc Motion (`iranted/l)enied

 

 

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13. l.oea| counsel ot` record associated with i\/|ovant in this matter is .lason /\. l’crl<ins.
l-`lorida iiar No. 0()10852, who is an active member in good standing ol"l`he Florida Bar and has
1)lliees111C111'ltoii l"ie|ds. i’./\.. 450 S. ()range .‘\venuc. Orlando. ()1'a11ge County. 1"lorida 32801-337(1,

'l`elephone: 407.?.44.8250

14. Movant has read the applicable provisions o|' Florida Rulc ol`.ludieia| Administraiion
2.510 and Rule 1-3.10 of the Rules Regulating 'l`he l`-`lorida Bar and certilics that this verified motion

complies with those rules.

l5. Movam agrees to comply with the provisions oi"thc Florida Rulcs ot` Prol`essional
Conduct and consents to thejurisdiction ol` the courts and the Bar of the Statc ol`Florida.

Wl IEREFORE_. Movant respectfully requests permission to appear in this court t"or this
cause only.

DA’rl.-;D this _li'i£\y or tva_ 21)18.

/ .
w 629

Kathcrine A. Brool<er (ivlovant)
Onc Shc|l Plaza
910 l.ouisiann
l~louston, `l`exas 77002
'l`elephone: 713.229.1222
katherine.brt11)ker@hakerhotts.eom

S'i`ATE OF TBXAS

COUN'I`Y OF I-IARRIS

1, Katherine Brookcr, do hereby swear or afli rm under penalty of perjury that 1 am the Movant
in the above-styled matter; that 1 have read the l`orcgoing Motion and know the contents thercol`, and

the contents are true oi` my own knowledge and hclicl`.

‘J£i”j/\WM /é{ao v[-,¢,.g/

Nlov111tt

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l hereby consent to he associated as local counsel ot" record in this cause pursuant to
I"`lorida Rule ol".ludieial .#\dministration 2.510.

pA'rer) this 1 8*`”“ day 1>1‘Muy. 21113. /

.last n 'Perkins (l.ocal Counscl oi` Rccord)
l*lo ida 3111'N11mber0(110852

t".ar tt l?ields, l’./\.

450 S. Orange Avcnue

()rlando. i"lot'ida 32801-3370

'1`elephone: 407.244.8250

l?acsimilc: 407.648.*)099

E-Mail: j parkins@car|tonliclds.com

 

CERTI|"|CATE OF SERV|CE

l ll[£RI`f)BY CERTIFY that on §§H . May )§, 2018, a trtre and correct copy ol`
the foregoing motion was served by mail to PHV Admissions, 'i`he l-`|orida Bar, 65| l£ast

.lel`l`erson Strect, 'l`allahassee, l"`lorida 32399-2333 accompanied by payment oi`thc $25().00 filing
fee made payable to 'I`he 1"`lorida Bar. or notice that the movant has requested a judicial waiver
of said fee; and to all known counsel ol" record via electronic mail attire addresses listed below:

Michacl A. ilornrcich

Steven D. (ionzalcs

Weinbcrg Wheeler l-ludgins, Guin & l)ia|. l.l,(.`
255 South Orange Avenuc. Suitc 1260
Orlando, FL 3280|

111homrcich@wwhgd.conr
Sgon?.alcs@wwhgd.com

Ramon A. Rasco ,
l"odhurst Orseek, l’./\.
l SE 3rd Avenue, Suitc 2700
Miami, FI,. 33131 4
rrasco(§t)podlrttrst.con1 K /
.lz1sd\7/.'l’erkins, Esq.

dl

